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                                   UNITED STATES DISTRICT COURT
 8                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
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10    UNITED STATES OF AMERICA,
                                                              CASE NO. CR02-0423C
11                             Plaintiff,
                                                              ORDER
12                     vs.

13    JAMES MORAN and PAMELA MORAN,

14                             Defendants.

15           This matter comes before the Court on Defendants James and Pamela Moran’s motion to

16   modify their conditions of release. (Dkt. No. 1313.) Accompanied by the recommendations of the

17   United States Pretrial Services Officers in Seattle as well as those responsible for monitoring

18   Defendants in Colorado, Defendants request that the Court remove the condition that they be subject

19   to electronic monitoring pending appeal. The government opposes the motion, arguing that no

20   relevant facts have changed since Defendants were ordered released subject to electronic monitoring

21   before trial. (See Opp’n 5–6.)

22           Acknowledging the justifications for the original imposition and continuation of electronic

23   monitoring (see Dkt. Nos. 40, 41, 174, 611, 1153), the Court nonetheless finds that Defendants’

24   consistent post-sentencing conduct, combined with the recommendations of the responsible

25   probation officers, justifies the relief requested. See 18 U.S.C. § 3142(g)(3)(A) (factors include

26   “family ties,” “community ties,” “and record concerning appearance at court hearings”).

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 1           For these reasons, the Court hereby GRANTS Defendants’ motion and ORDERS that their

 2   condition of release requiring electronic monitoring be removed. All other conditions of release shall

 3   remain in place pending appeal.

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                                                     A
             DATED this 14th day of April, 2006.
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                                                     UNITED STATES DISTRICT JUDGE
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